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                                   STATEMENT OF FACTS

        I am a Special Agent of the Federal Bureau of Investigation (FBI) and have been so since
January 2019. I am assigned to the FBI Washington Field Office, and I am currently tasked with
investigating criminal activity in and around the Capitol grounds. As a Special Agent, I am
authorized to investigate violations of laws of the United States and am authorized to execute
warrants issued under the authority of the United States.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, S.E., in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of



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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On January 17, 2021, the FBI received an online tip from a tipster (hereinafter “Witness-
1” or “W-1”) who stated that he/she was watching the news during the Capitol insurrection and
recognized a suspect but “wasn’t sure it was him.” He/she had heard that the suspect was at the
Capitol, however. An FBI agent contacted W-1 that same day by telephone. During the interview,
W-1 stated that he/she was watching television and recognized JOHN DANIEL ANDRIES in a
crowd of people at the U.S. Capitol building on January 6, 2021. W-1 said that he/she last saw
ANDRIES about two years ago and knew him through a mutual friend. W-1 provided the FBI
agent with ANDRIES’s address and telephone number, which your Affiant confirmed are
registered to ANDRIES. W-1 stated that ANDRIES served in the military, which your Affiant
later confirmed. He/she also stated that ANDRIES has multiple arrests for DUI, which your
Affiant also confirmed.

        W-1 provided a link to a YouTube video from @BGOnTheScene and identified ANDRIES
at the 13:19 minute mark. 1 A screenshot from the video at that approximate time is below:




ANDRIES appears to have long light brown hair and a full beard and is wearing a khaki-color
jacket, black shirt or sweatshirt, and backpack.

        W-1 also provided a screenshot to the FBI that W-1 captured from the YouTube video and
identified ANDRIES as in the front left-hand corner. The screenshot is below:

1
 The YouTube video titled “Photographer, Brendan Gutenschwager, shares video of siege on the
US Capitol” was publicly accessible at https://youtu.be/gTurnetBh4A as of January 21, 2021.
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     An FBI agent conducted surveillance of ANDRIES on January 21, 2021. He saw
ANDRIES outside carrying a jacket that appeared to resemble the khaki-colored jacket that
ANDRIES wore inside the U.S. Capitol building on January 6, 2021. The FBI agent recognized
ANDRIES from the photographs and videos from the U.S. Capitol building.

        On January 25, 2021, another FBI agent interviewed a Deputy Sheriff with the St. Mary’s
County Sheriff’s Office (hereinafter “Witness-2” or “W-2”). W-2 stated that he/she responded to
ANDRIES’s house on January 11, 2021, in response to an unrelated police report. When W-2
arrived, ANDRIES was home and W-2 interviewed ANDRIES. The FBI agent showed W-2 the
screenshots above and below from inside the U.S. Capitol building. W-2 looked at the screenshots
and identified ANDRIES, stating, “It looks like him.” W-2 remembered that ANDRIES had
distinct shaggy hair and a beard.

       While viewing the @BGOnTheScene YouTube video provided by W-1, your Affiant
recognized ANDRIES in several other video clips both inside and outside the U.S. Capitol
building with other rioters. At the beginning of the video (at approximately 10:21), ANDRIES
can be seen on the steps outside of the U.S. Capitol Building with a large crowd. The crowd is
attempting to break down the metal barriers to the building, as police officers try to hold them
back.




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        Approximately 30 seconds later, the crowd breaks through the barriers and heads toward
the Capitol building. ANDRIES can be seen walking up the stairs to the building (at
approximately 10:53). Eventually, the crowd enters the building and ANDRIES can be seen
inside the building with the other rioters (at 13:19).

       Your Affiant also reviewed video surveillance footage from U.S. Capitol Police (“the
USCP video”). The USCP video footage shows ANDRIES enter the U.S. Capitol building
through a broken window.




        As seen in the @BGOnTheScene video, once he was inside the building, ANDRIES
appears to be part of a crowd that is attempting to push past U.S. Capitol Police officers. At one
point, ANDRIES turns to the crowd and waves his arms in a back-and-forth motion.

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                                      [14:42 mark]
        The next video clips from @BGOnTheScene show ANDRIES near the front of the crowd
near the officers.




                                         [15:01 mark]




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                                           [15:13 mark]

       The USCP video further shows ANDRIES walk up to USCP officers several times and
get within inches of them. He also appears to be moving his arms in an up-and-down motion as
he faces the crowd.




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        Your affiant submits that there is probable cause to believe that JOHN DANIEL ANDRIES
violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain
in any restricted building or grounds without lawful authority to do so; and (2) knowingly, and
with intent to impede or disrupt the orderly conduct of Government business or official functions,
engage in disorderly or disruptive conduct in, or within such proximity to, any restricted building
or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of
Government business or official functions; or attempt or conspire to do so. For purposes of Section
1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted
area of a building or grounds where the President or other person protected by the Secret Service,
including the Vice President, is or will be temporarily visiting; or any building or grounds so
restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that JOHN DANIEL ANDRIES
violated 40 U.S.C. 5104(e)(2)(D), (E), (G), which makes it a crime to willfully and knowingly (D)
utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any
place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb
the orderly conduct of a session of Congress or either House of Congress, or the orderly conduct
in that building of a hearing before, or any deliberations of, a committee of Congress or either
House of Congress; (E) obstruct, or impede passage through or within, the Grounds or any of the
Capitol Buildings; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                               SPECIAL AGENT JAMSHID OCHILOV
                                               FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 28th day of January 2021.
                                                                 2021.01.28
                                                                 14:58:26 -05'00'
                                               ___________________________________
                                               ZIA M. FARUQUI
                                               UNITED STATES MAGISTRATE JUDGE




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